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 8                     UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                                 WESTERN DIVISION
11
12   EVELYN HOWELL MASSEY,                  )   No. 2:19-cv-09626-CJC (JDE)
                                            )
13                    Plaintiff,            )
                                            )   JUDGMENT
14                     v.                   )
                                            )
     BIOLA UNIVERSITY, INC., et al.,        )
15                                          )
                                            )
16                    Defendants.           )
                                            )
17                                          )
18
19         Pursuant to the Order Accepting Findings and Recommendations of the
20   United States Magistrate Judge,
21         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
22              1.    Plaintiff shall take nothing by this action;
23              2.    Plaintiff’s Title IX, Title VI, and First Amendment claims
24         asserted in the operative Second Amended Complaint are dismissed with
25         prejudice; and
26   ///
27   ///
28   ///
 1              3.    Plaintiff’s remaining state law claims (Breach of Contract
 2        and alleged violations of Cal. Educ. Code § 94367) are dismissed
 3        without prejudice to assertion in state court.
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 5   Dated: October 20, 2020
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                                                    CORMAC J. CARNEY
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 9                                                  United States District Judge

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